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6 Counsel for Plaintiffs and the Proposed Class
7
8                        UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                       (WESTERN DIVISION – LOS ANGELES)
11
12   GRANT MCKEE, TAYLOR FISSE,                  Case No. 2:17-cv-01941 GW (Ex)
13   BRYAN REES, ERIC WEBER, and
     MICHAEL ROGAWSKI, individually
14   and on behalf of all others similarly       JOINT RULE 26(f) REPORT
15   situated,
16              Plaintiffs,
                                                 Date:         April 19, 2018
17   v.                                          Time:         8:30 a.m.
18                                               Courtroom:    9D
     AUDIBLE, INC.,
                                                 Judge:        Hon. George H. Wu
19                                               Trial Date:   None Set
                Defendant.
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                                   JOINT RULE 26(f) REPORT
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 1         Plaintiffs Grant McKee, Taylor Fisse, Bryan Rees, Eric Weber, and Michael
 2 Rogawski1 (“Plaintiffs”) and Defendant Audible, Inc. (“Defendant”) jointly submit this
 3 Joint Rule 26(f) Report pursuant to this Court’s Order setting a status conference [Dkt.
 4 97 at 1] and Local Rule 26-1.
 5                               JOINT RULE 26(f) REPORT
 6 Rule 26(f)(1) – Conference Timing
 7         The parties conferred on April 11, 2018 and several times thereafter via
 8 teleconference and email correspondence.
 9 Rule 26(f)(2) – Conference Content
10         Nature and Basis of Claims and Defenses and Potential for Prompt Settlement. The
11 parties have discussed the nature and basis of their claims and defenses in connection
12 with their consideration of “the possibilities for promptly settling or resolving the case.”
13 Fed. R. Civ. P. 26(f)(2). Some settlement communications have occurred to date, but the
14 parties have not engaged in any formal settlement conference or mediation.
15         Rule 26(a)(1) Disclosures. The parties have discussed the timing of initial
16 disclosures and agree that initial disclosures should be made by May 21, 2018.
17         Preservation of Discoverable Information. The parties have discussed the
18 preservation of discoverable information. Counsel for each of the parties has discussed
19 with their clients their obligations to preserve discoverable information, and the parties
20 do not currently anticipate any issues concerning preservation of discoverable
21 information.
22         Proposed Discovery Plan. The parties have discussed and propose the discovery
23 plan shown below.
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27   Plaintiffs Taylor Fisse and Bryan Rees’s claims are expected to be transferred to the
   Eastern District of North Carolina shortly. The parties are still conferring as to whether
28 they can stipulate to evidence that would show that Plaintiff Michael Rogawski agreed to
   arbitrate his claims.
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 1 Rule 26(f)(3) – Discovery Plan
 2         a.    What changes should be made in the timing, form, or requirement for
 3               disclosures under Rule 26(a)
 4         Plaintiffs’ Position.
 5         Plaintiffs believe initial disclosures should be made by May 21, 2018. Plaintiffs
 6 believe the initial disclosures Defendant makes should identify and submit records
 7 showing its current and historic (i) conditions of use, (ii) sign-up and credit redemption
 8 webpages, (iii) disclosures concerning automatic payments, designating payment
 9 methods, credit expirations, and cancellation, and (iv) pricing policies and practices for
10 audiobooks and related products and services. Defendant has already collected and
11 produced (voluntarily or by Court order) many of these documents in connection with
12 several motions to compel arbitration and has known for months that these documents
13 are at the heart of Plaintiffs’ claims and Defendant’s defenses and will be produced in
14 this action eventually. Moreover, Defendant has in the past represented that it has a “User
15 Experience Team” that regularly identifies and collects screenshots and similar website
16 information concerning the webpages that are relevant to this action, so the suggestion
17 that it would be a “Herculean undertaking” for Defendant to collect and produce
18 screenshots of their core sign-up and credit redemption webpages is inconsistent with
19 their prior production and use of such webpages and past representations. Plaintiffs are
20 not asking Defendant to submit back-up supporting data or related correspondence in
21 connection with the initial disclosures.
22         Defendant’s Position.
23         Defendant’s position is that initial disclosures should be made by May 21, 2018.
24 Defendant’s position is that Rule 26(a)(1) clearly articulates what information is required
25 to be provided in initial disclosures, and does not contemplate the expansive production
26 of documents and accompanying information requested by Plaintiffs above. To the
27 contrary, Rule 26 states that a party must provide “a copy—or description by category
28 and location—of all documents” relevant to its claim or defenses. Plaintiff’s suggestion

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 1 that Defendant instead must produce all of the electronic records on which it intends to
 2 rely with its initial production is both inconsistent with Rule 26 and untenable. As the
 3 Court is aware from Defendant’s motions to compel arbitration and plaintiff’s
 4 oppositions, the task of identifying screen flows based on the date used and the
 5 circumstances that would have led a particular screen flow to be used is a herculean
 6 undertaking. While Defendant does anticipate producing evidence on these subjects
 7 during discovery, it cannot produce all of this information in connection with its initial
 8 disclosures.
 9         b.      The subjects on which discovery may be needed, when discovery should
10                 be completed, and whether discovery should be conducted in phases or
11                 be limited to or focused on particular issues
12         Plaintiffs’ Position.
13         Plaintiffs anticipate needing discovery on the following and related subjects in
14 connection with class certification and/or merits discovery, much of which Plaintiffs
15 believe will be overlapping (i.e., the sign-up and credit redemption webpages and similar
16 webpages will go to issues of typicality and commonality and will also go to the merits
17 of the parties’ dispute on whether such webpages omitted material information or
18 contained all necessary disclosures):
19         (i)     Defendant’s current and historic conditions of use;
20         (ii)    Defendant’s current and historic advertisements related to its memberships
21                 and related products and services;
22         (iii)   Defendant’s current and historic sign-up and credit redemption webpages;
23         (iv)    Defendant’s current and historic policies and practices related to its
24                 memberships and related products and services;
25         (v)     Defendant’s current and historic policies, practices, and disclosures related
26                 to purchasing and redeeming credits;
27         (vi)    Defendant’s current and historic policies and practices related to pricing its
28                 credits and pricing its products and services;

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 1         (vii) Defendant’s current and historic policies, practices, and disclosures related
 2                to designating and charging payment methods;
 3         (viii) Defendant’s current and historic policies, practices, and disclosures related
 4                to cancellation of a membership;
 5         (ix)   Complaints by consumers and third parties (e.g., government agencies,
 6                counsel for other parties) related to any of the above topics (e.g., complaints
 7                related to unauthorized charges, expired credits, cancellation requirements);
 8         (x)    Identification of the potential class and subclass members in this action; and
 9         (xi)   Identification of the number of expired credits and number of charges to
10                non-designated payment methods.
11         Plaintiffs believe that it is appropriate to follow the portion of the Manual for
12 Complex Litigation, Fourth Edition, applicable to class actions, and that it is appropriate
13 to address class certification issues before reaching the merits of Plaintiffs’ claims and
14 Defendant’s defenses. As shown below, Plaintiffs believe class certification-related
15 discovery should be completed by August 27, 2018, with Plaintiffs’ motion for class
16 certification to be filed shortly thereafter.
17         Federal Rule of Civil Procedure 23(c)(1)(A) instructs that a Court “must” make
18 certification decision at “an early practicable time after a person sues . . . as a class
19 representative.” While case law supports the Court’s prior decisions to grant Defendant’s
20 request to delay initial disclosures and class certification discovery until after (most of)
21 Defendant’s motions concerning arbitration, jurisdiction, and Rule 12 dismissal are
22 resolved, there is little, if any, support for Defendant’s request that it be permitted to
23 delay Plaintiffs’ prosecution of their claims until they have tried to pick of one or more
24 claims on summary judgment. Defendant’s affiliates and their same counsel have already
25 agreed to start with class certification discovery in the related Weber v Amazon case (in
26 the event the Court denies their pending motion to compel arbitration), and the same
27 procedure should be followed in this action, particularly since it has already been pending
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 1 more than 13 months and Defendant’s proposed timeline would delay any class
 2 certification decision by more than another year.
 3         Alternatively, Plaintiffs believe that class certification and merits discovery should
 4 simply proceed at the same time (as opposed to bifurcation of certification and merits
 5 discovery, which is fairly common in these cases), and if Defendant wishes to file an
 6 early motion for partial summary judgment, it can do so once it believes sufficient
 7 discovery has occurred. Defendant should not be allowed to refuse all class certification
 8 discovery simply because it believes it may have a chance to pick of one of Plaintiffs’
 9 claims on summary judgment because the Court acknowledged that the motion to dismiss
10 presented a close question on a fairly undeveloped area of federal law. If Defendant really
11 wants to conduct merits discovery, it should not be instead of class certification discovery
12 or limited only to issues Defendant picks.2
13         Defendant’s Position.
14         Defendant anticipates needing discovery on the following and related subjects:
15         (i)     The named Plaintiffs’ knowledge of Audible’s credit expiration and other
16                 policies;
17         (ii)    The named plaintiff’s experiences signing up for Audible, including but not
18                 limited to what advertisements and statements the named Plaintiffs saw
19                 regarding Audible;
20         (iii)   Mr. Weber’s experience signing up for an account with Amazon.com and
21                 his knowledge of the Amazon.com Conditions of Use and privacy policies.
22         As is noted in the parties’ proposed schedule below, Defendant has proposed a
23 schedule that allows two more months for class certification discovery than the schedule
24 proposed by Plaintiffs. While Plaintiffs have not yet propounded specific discovery
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     Plaintiffs do not agree that the discovery needed to litigate the merits of gift card issues
26 is “extremely limited” as Defendant suggests. Moreover, resolving gift card-related
   merits issues will not substantially limit the remaining discovery that will be necessary,
27 and most of Plaintiffs’ claims have substantial overlap in relevant facts and Defendant’s
   applicable defenses. An early summary judgment motion is unlikely to resolve a large
28 part of this action, render other discovery unnecessary, or dramatically shrink the putative
   class.
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 1 requests, the requests that Plaintiffs make in this filing indicate that Plaintiff seeks
 2 information that will be enormously difficult and time consuming for Defendant to gather
 3 and produce. This Court has already seen the difficulty involved in producing all of the
 4 possible screenshots and disclosures that one specific user may have seen, and Plaintiffs
 5 appear to be asking Defendant to generate this information for all of Audible’s user base.
 6 Defendant believes that Plaintiffs’ proposed schedule does not adequately reflect the
 7 magnitude of their likely discovery requests and the technical realities of responding to
 8 such requests.
 9         c.    Any issues about disclosure, discovery, or preservation of electronically
10               stored information, including the form or forms in which it should be
11               produced
12         As described above, the parties disagree as to the timing of Rule 26(a) initial
13 disclosures. Because Defendant has indicated that it is documenting and preserving any
14 and all relevant modifications to their webpages, disclosures, terms, and advertisements,
15 and related internal and external communications, and because all parties have been
16 advised as to their obligations to maintain and preserve potentially discoverable
17 documents and information, the parties do not anticipate any issues concerning the
18 preservation of electronically stored information.
19         The parties anticipate entering into a Stipulated Protective Order to govern
20 discovery of confidential material and information and will promptly seek the Court’s
21 approval of such Order.
22         d.    Any issues about claims of privilege or of protection as trial-
23               preparation materials, including—if the parties agree on a procedure
24               to assert these claims after production—whether to ask the Court to
25               include their agreement in an order under FRE 502
26         The parties anticipate entering into a Stipulated Protective Order to govern
27 discovery of confidential material and information and will promptly seek the Court’s
28 approval of such Order.

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 1         The parties agree that they will not require a privilege log concerning the parties’
 2 communications with their respective outside counsel occurring after January 26, 2017.
 3         e.    What changes should be made in the limitations on discovery imposed
 4               under these rules or by local rule, and what other limitations should be
 5               imposed
 6         Plaintiffs’ Position.
 7         Plaintiffs believe that class certification-related discovery should be completed
 8 before merits-related discovery commences. Plaintiffs have expressed above their
 9 objections to Defendant’s request that it be permitted to cherry-pick issues it would like
10 to challenge again, and then organize a self-serving discovery plan around its own
11 preferences without regard to Rule 23’s instructions and Plaintiffs’ obligation to
12 prosecute their claims promptly and efficiently. If any merits discovery proceeds (which
13 will largely be overlapping with class certification discovery), the Court should simply
14 decline to bifurcate class certification and merits discovery and let all discovery proceed
15 simultaneously.
16         Plaintiffs continue to object to Defendant’s characterization of Plaintiffs’ claims,
17 and Weber’s claims in particular. First, Weber is not solely making claims related to an
18 unauthorized charge to a business credit card stored on his separate Amazon account as
19 Defendant likes to argue. He also has pleaded false advertising and disclosure-based
20 claims arising under state and federal law. Weber has standing to bring numerous claims
21 separate and apart from the unauthorized charges to a business card. Second, Plaintiffs’
22 counsel has confirmed with Weber that while Weber’s business card was a credit card
23 charged without authorization, Weber’s personal card that has been charged
24 automatically by Audible for numerous months is a debit card. Weber will clarify this in
25 the Third Amended Complaint, and such facts will continue to support a preauthorized
26 electronic funds transfer claim under the EFTA based on the Court’s recent ruling.
27 Finally, Plaintiffs object to any stay based on Audible’s intent to appeal. The Court
28 properly applied the same analysis to Weber as it did to McKee nine months ago in

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 1 connection with Audible’s attempt to rely on its affiliate’s terms to compel arbitration
 2 when its own terms failed. Audible should not be permitted to delay discovery and related
 3 proceedings even further simply because it is dissatisfied with some of the Court’s rulings
 4 and based on the hope that the Ninth Circuit may allow Audible to enforce terms to which
 5 it is not a party. Indeed, even after submitting all of its relevant evidence in reply, Audible
 6 never proved that Weber and Amazon have an enforceable arbitration agreement on
 7 which Audible could base an appeal (Amazon itself has yet to prove any arbitration
 8 agreement exists in a related case).
 9         Defendant’s Position.
10         Defendant has no objection to class certification discovery generally taking place
11 before merits discovery. However, Defendant asks that class certification discovery not
12 begin until the Court hears Defendant’s motion to dismiss for lack of standing with
13 regards to Eric Weber. Defendant intends to move to dismiss Mr. Weber’s claims
14 pursuant to Rule 12(b)(1) because at the time that he filed his complaint, he had already
15 received a full refund for the unauthorized charges about which he complains. See Luman
16 v. Theismann, 647 F. App’x 804, 806 (9th Cir. 2016) (district court properly dismissed
17 claim where plaintiff filed complaint two months after he received a monetary refund and
18 therefore no longer met injury-in-fact requirement at the time he filed his complaint);
19 Davis v. Fed. Election Comm'n, 554 U.S. 724, 732–33 (2008) (noting that at the
20 commencement of the litigation plaintiff must satisfy the elements of standing including
21 an injury-in-fact, traceable to the defendant's behavior, that is redressable by the court).
22 Determining whether Mr. Weber will remain in the case is critical to determining the
23 scope of class discovery, as his claims are based on an entirely different theory of
24 liability—unauthorized charges to a credit card other than card designated for Audible—
25 than Mr. McKee’s claims. If Mr. Weber remains in the case then Amazon’s disclosures
26 and credit card charging practices will be relevant to class discovery; if he does not then
27 only Audible records will be at issue. While Plaintiffs will likely complain that motion
28 practice on the pleadings has already been ongoing for some time, it was Plaintiffs’

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 1 decision to continually add new named representatives with different alleged injuries to
 2 the same action.
 3          Defendant would further ask that while motion practice takes place with regards
 4 to Mr. Weber’s claim, and before class certification discovery begins, the Court allow a
 5 brief period of discovery on the issue of whether Audible credits constitute “gift
 6 certificates” or “gift cards” under applicable law, including whether they are “issued in a
 7 specified amount,” and then hear a motion for summary judgment on that issue. In
 8 denying Defendant’s motion to dismiss on this subject, the Court noted that Plaintiffs
 9 were “barely” able to “squeak” this claim past the pleading stage, and that the issue would
10 better be decided on summary judgment than a motion to dismiss. See October 26, 2017
11 Hearing Transcript at 4:7-18. If the Court resolves this issue before class certification and
12 other merits discovery commence, this will significantly narrow the scope of discovery
13 required. Plaintiffs’ gift card claim is the only federal claim at issue in this case, and class
14 discovery will be far more efficient if the parties know whether there is any possibility
15 of a nationwide class of if all claims are being asserted under California law.3 Moreover
16 the amount of discovery required for the Court to hear a summary judgment motion on
17 this issue is extremely limited. Defendant therefore requests that the Court entertain a
18 motion for summary judgment on this issue, then consider class certification, and then
19 establish a schedule for merits discovery. If this limited discovery happens in tandem
20 with Defendants’ Motion to dismiss with regards to Mr. Weber, it will not significantly
21 delay class discovery.
22          In the alternative, Defendant asks that the Court stay all proceedings with regard
23 to Mr. Weber’s claims while Defendant pursues an appeal of the Court’s order denying
24 Audible’s motion to compel arbitration. While Audible will be taking this appeal as a
25
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     The Court has already concluded that the Electronic Funds Transfer Act does not apply
26 to credit card transactions. Therefore, while the Second Amended Complaint still
   technically contains an EFTA claim brought on behalf of Weber, Defendant does not
27 believe that this claim can be salvaged in the Third Amended Complaint, as the complaint
   affirmatively alleges that both the personal card that Mr. Weber designated for Audible
28 use and the corporate card that was wrongly charged were credit cards, and not debit
   cards.
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 1 matter of right pursuant to the Federal Arbitration Act, it recognizes that such an appeal
 2 does not automatically divest the court of jurisdiction over the matter, and that the Court
 3 has discretion to continue hearing Mr. Weber’s claims while the appeal proceeds. 9
 4 U.S.C. § 16(a)(1)(c).
 5          f.    Any other orders that the Court should issue under Rule 26(c) or under
 6                Rule 16(b) and (c)
 7          The parties anticipate entering into a Stipulated Protective Order to protect
 8 confidential and proprietary information and documents and request that the Court
 9 approve such Order.
10          Plaintiffs ask that the Court order class certification-related discovery be
11 completed before merits-related discovery commences. Plaintiffs further ask that,
12 because many issues will largely depend on what dates particular webpages, disclosures,
13 terms, advertisements, and policies were operative and shown or available to
14 consumers—and because they have been changed over time—Defendant be required to
15 (i) identify the operative dates for each relevant screenshot or printout produced in
16 discovery and (ii) also produce any records used to determine the operative dates.
17          For the reasons discussed above, Defendant requests that the Court hear an early
18 motion for summary judgment on the issue of whether Audible credits constitute gift
19 certificates or gift cards, and then proceed to class certification discovery after it has ruled
20 on both the motion for summary judgment and Defendant’s motion to dismiss with
21 regards to Eric Weber. Defendant otherwise has no objection to class certification
22 discovery preceding merits discovery. As to Plaintiff’s request that Defendant be required
23 to identify the operative dates of every relevant screenshot and produce all records relied
24 upon in determining those dates, Defendant asks that the Court consider such requests in
25 the context of specific discovery demands and Defendant’s responses to those demands.
26 While the production of such records may not pose a problem in some instances, in others
27 it may require the production of confidential source code or entire databases. Rule
28 26(b)(1) provides that parties may discover relevant evidence “proportional to the needs

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1 of the case.” Until Plaintiff issues specific requests and Audible can assess the burden
2 associated with responding to those requests, it is impossible to determine whether this
3 sort of production would be proportional to the needs of this case.
4        Scheduling
5        The parties propose the following dates:
6      Event                            Plaintiffs’ Proposal          Defendant’s Proposal
7      Plaintiffs’ Deadline to File May 14, 2018                      May 14, 2018
8      Third Amended Complaint
9      (“TAC”)
10     Initial Disclosures              May 21, 2018                  May 21, 2018
11     Start of Discovery on Issue Plaintiffs          object    to May 21, 2018
12     of Whether Credits are proceeding with issue-
13     Issued    in    a     Specified specific         discovery
14     Amount                           handpicked               by
15                                      Defendant          before
16                                      Plaintiffs can seek any
17                                      other discovery
18     Deadline for Defendant’s June 4, 2018                          June 4, 2018
19     Motion to Dismiss as to Eric
20     Weber     and   to     Answer
21     Complaint as to Grant
22     McKee
23     Deadline for Plaintiffs to June 25, 2018                       June 25, 2018
24     Oppose          Defendant’s
25     Motion to Dismiss as to Eric
26     Weber
27     Deadline for Defendant to July 9, 2018                         July 9, 2018
28     file a Reply in support of a
                                                  12
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1     Motion to Dismiss as to Eric
2     Weber
3     Last Day for Discovery on Plaintiffs object                      July 13, 2018
4     Whether Credits are Issued
5     in a Specified Amount
6     Hearing      on      Defendant’s July 23, 2018                   July 23, 2018
7     Motion to Dismiss Eric
8     Weber
9     Deadline       for        Audible’s Plaintiffs object            July 26, 2018
10    Motion       for          Summary
11    Judgment          on       Whether
12    Credits are Issued in a
13    Specified Amount
14    Deadline     for          Plaintiffs’ Plaintiffs object          August 16, 2018
15    Opposition to Motion for
16    Summary Judgment
17    Deadline       for        Audible’s Plaintiffs object            August 30, 2018
18    Reply     ISO       Motion       for
19    Summary Judgment
20    Hearing        on         Audible’s Plaintiffs object            September 10, 2018
21    Motion       for          Summary
22    Judgment
23    Start of Class Certification- Immediately                        September 10, 2018
24
      Related Discovery
25    Last     Day         to     Amend July 30, 2018                  August 30, 2018
26
      Pleadings
27    Disclosure           of       Class July 30, 2018                January 22, 2019
28    Certification Experts
                                                       13
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1     Last         Day    for     Class August 27, 2018              February 22, 2019
2     Certification Discovery
3     Last         Day    for     Class September 24, 2018           March 18, 2019
4     Certification          Discovery
5     Motions to be Heard
6     Deadline to file Motion for October 15, 2018                   April 12, 2019
7     Class Certification
8     Deadline to file Opposition November 12, 2018                  May 10, 2019
9     to         Motion    for    Class
10    Certification
11    Deadline to file Reply in December 3, 2018                     May 31, 2019
12    support of Motion for Class
13    Certification
14    Hearing on Motion for December 17, 2018                        June 13, 2019
15    Class Certification
16
17         Local Rule 26-1
18         Pursuant to Local Rule 26-1:
19         (a)     The parties agree that the class action-related procedures in the Manual For
20                 Complex Litigation (current edition) should be utilized.
21         (b)     The parties have set forth above their proposed motion schedule for
22                 Plaintiffs’ anticipated motion for class certification. Defendant believes that
23                 the Court should consider Plaintiffs’ gift card law claims, as well as
24                 Defendant’s motion to dismiss as to Weber, before class certification
25                 discovery. Plaintiffs believe that if any merits discovery proceeds, class
26                 certification and merits discovery should proceed simultaneously.
27         (c)     The parties have agreed that private mediation is the most appropriate ADR
28                 procedure.

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 1         (d)   The parties agree that it is premature to set a trial date and/or estimate the
 2               length of trial.
 3         (e)   Plaintiffs anticipate that additional consumers may be added as parties, but
 4               Plaintiffs’ counsel has not yet confirmed the identity of any specific
 5               consumer who will be added as a named plaintiff and proposed class
 6               representative. Defendant does not anticipate that any additional parties will
 7               be added except as described by Plaintiff’s counsel. In the event that the
 8               Court permits Plaintiffs to add additional consumers as parties, Defendant
 9               anticipates filing one or motions to dismiss or compel arbitration as to such
10               additional plaintiffs.
11         (f)   The parties have included proposed timing of disclosure of expert witnesses
12               related to class certification issues under Rule 26(a)(2) in their scheduling
13               requests.
14
15 Dated: April 16, 2018                       SODERSTROM LAW PC
16                                             By: /s/ Jamin S. Soderstrom
17                                             Counsel for Plaintiffs and the Proposed Class
18
19 Dated: April 16, 2018                       FENWICK & WEST LLP
20                                             By: /s/Jedediah Wakefield
21                                             Counsel for Defendants
22
23                              SIGNATURE CERTIFICATION
24         I hereby attest that all other signatories listed, on whose behalf this filing is
25 submitted, concur in the filing’s content and have authorized the filing. I have obtained
26 authorization to affix their electronic signatures to this document.
27
28 Dated: April 16, 2018                           /s/ Jamin S. Soderstrom

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                                CERTIFICATE OF SERVICE
1
2         The undersigned certifies that on April 16, 2018 I caused the foregoing document to
3 be served on all counsel of record by the Court’s CM/ECF electronic filing system.
4
                                                 By: /s/ Jamin S. Soderstrom
5
6                                                Jamin S. Soderstrom

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